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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Canvasfish.com, LLC
                                   Plaintiff,
v.                                                   Case No.: 1:21−cv−03676
                                                     Honorable Virginia M. Kendall
JOHN DOES (1−10), et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 24, 2021:


        MINUTE entry (Corrected) before the Honorable Virginia M. Kendall.
Teleconference Motion hearing held on 9/24/2021. Oral argument heard regarding
Defendants Dino21, LLC and OpenCommerce Group, Inc.'s Emergency Motion to
Dissolve Ex Parte Temporary Restraining Order [58]. Defendants' Motion [58] is granted
and Temporary Restraining Order is dissolved as to objecting Defendants Dino21, LLC,
OpenCommerce Group, Inc. and teesalley.com. Restraints placed on these Defendants in
the now−dissolved Temporary Restraining Order [22] are hereby lifted. Defendants
Dino21, LLC, OpenCommerce Group, Inc. and teesalley.com may continue to engage in
conduct from which they were temporarily enjoined and restrained including: use of
domain names and domain name registrars, use of third party services (online marketplace
platforms, privacy service providers and social media companies), the transfer or
disposition of financial assets, advertisement of goods or any other conduct previously
enjoined by the TRO. Mailed notice(lk, )




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